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                                             May 7, 2019


Via ECF
Hon. James B. Clark, III, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

                    Re:        Collick et al. v. William Paterson University et al.
                               Docket No. 16-471 (KM)

Dear Judge Clark:

      As Your Honor knows, this office represents plaintiffs in the above
matter. On April 1, 2019, Your Honor issued a letter order establishing
new deadlines for discovery. Since Your Honor’s order, the parties have
taken the depositions of the detective and assistant prosecutor involved
in the underlying criminal case. During said depositions, we learned
that the Passaic County Prosecutor’s Office (“PCPO”) was in possession
of certain documents that had not been provided to our office and/or
there were documents that we were not aware of that were relevant to the
case. We have issued a Notice to Produce to the PCPO in lieu of a more
formal subpoena to obtain those records, but we do not have them at this
date. In addition, the third and last witness who needs to be deposed
is the nurse who evaluated the alleged victim at the hospital.
Unfortunately, the nurse has been on a medical leave of absence and has
had to adjourn the deposition on two occasions. The attorney from the
Passaic County Counsel’s office has advised that the nurse will be out
for an additional thirty (30) days.

      Thus, this letter requests an extension of forty-five (45) days of
the deadlines for fact discovery, affirmative expert reports, responsive
expert reports, and complete expert discovery solely to address the open
issues addressed in this letter. We know from previous conversations
that Your Honor has been generous with extending the deadlines to
accommodate this complex and tortuous case. Unfortunately, these recent
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events are outside of counsel’s control, and we hope and trust that you
appreciate the current situation. We are scheduled to speak with Your
Honor on May 23, 2019 for a telephone status conference, but if Your
Honor believes that a telephone status conference should occur earlier,
counsel will accommodate Your Honor’s schedule.

     Defense counsel does not object to this request. We thank Your
Honor in advance for your anticipated attention and cooperation in this
matter.


                                   Respectfully submitted,

                                   /s/ Michael J. Epstein
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MJE/ec

Cc:   Matthew E. Beck, Esq.
      Mauro G. Tucci, Esq.
